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10                            UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF WASHINGTON
11

12    In Re:                                                Lead Case No. 19-00478-FPC11

13    COUNTRY MORNING FARMS, INC. and                       Jointly Administered
      COUNTRY MORNING FARMS CATTLE,
14    LLC,                                                  EX-PARTE ORDER FOR 2004
                                                            EXAMINATION OF GAYLE NOYES
15                    Debtors/Debtors in Possession.

16

17             THIS MATTER having come on before the Court upon the motion of Bank of the West
18    (“BOTW”) for an order for a 2004 examination of Gayle Noyes pursuant to Fed. R. Bankr. P.
19
      2004 and 9016 (incorporating Fed. R. Civ. P. 45); and it appearing that good cause has been
20
      shown, now therefore, it is hereby
21
               ORDERED that Gayle Noyes as Dairy Manager to debtor Country Morning Farms,
22

23    Inc., appear at the offices of Foster Garvey PC, 618 West Riverside Avenue, Suite 300,

24    Spokane, WA 99201 on December 11, 2019 at 10:00 A.m., or at another time set by written

25    agreement, to be examined under oath concerning the acts, conduct, property, liabilities and
26

                                                                              FOSTER GARVEY PC
                                                                            1111 THIRD AVENUE, SUITE 3000
      EX-PARTE ORDER - 1                                                   SEATTLE, WASHINGTON 98101-3292
                                                                        PHONE (206) 447-4400 FAX (206) 447-9700



      FG:53552000.1
     19-00478-FPC11        Doc 480-1       Filed 11/21/19    Entered 11/21/19 15:01:42            Pg 1 of 2
 1    financial condition of the Debtor, and any other matter which may affect the Debtor's estate,
 2    including but not limited to the Debtor’s proposed Plan of Reorganization.
 3

 4
                                          ///END OF ORDER///
 5

 6
      Presented by:
 7
      FOSTER GARVEY PC
 8

 9    /s/ Deborah A. Crabbe
10    Deborah A. Crabbe, WSBA No. 22263
      Attorneys for Bank of the West
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                                                                             FOSTER GARVEY PC
                                                                           1111 THIRD AVENUE, SUITE 3000
      EX-PARTE ORDER - 2                                                  SEATTLE, WASHINGTON 98101-3292
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